

Matter of Leilani D. (Linsford D.) (2021 NY Slip Op 00110)





Matter of Leilani D. (Linsford D.)


2021 NY Slip Op 00110


Decided on January 12, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 12, 2021

Before: Renwick, J.P., Kern, Mazzarelli, Kennedy, Shulman, JJ. 


Docket No. NN-08327/17 Appeal No. 12819 Case No. 2019-03532 

[*1]In the Matter of Leilani D., A Child Under Eighteen Years of Age, etc., Linsford D., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


Law Office of Thomas R. Villecco, P.C., Jericho (Thomas R. Villecco of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York&nbsp;(Julia Bedell of counsel), for respondent.
Janet Neustaetter, The Children's Law Center, Brooklyn (Chai Park of counsel), attorney for the child.



Order of fact-finding and disposition (one paper), Family Court, New York County (Patria Frias-Colon, J.), entered on or about August 5, 2019, which, inter alia, after a hearing, determined that respondent father neglected the subject child, unanimously affirmed, without costs.
The court's finding of neglect was supported by a preponderance of the evidence that the father compelled the child to lie about alleged abuse sustained while in the mother's care to please him, or otherwise risk his anger or have him withhold treats and, on multiple occasions, subjected the child to multiple medical examinations and forensic interviews based on such unfounded allegations of abuse (see Matter of Ruth Joanna O.O. [Melissa O.], 149 AD3d 32, 40-41 [1st Dept 2017], affd 30 NY3d 985 [2017]; see also e.g. Matter of Tyler W.[Janice B.], 149 AD3d 968, 969 [2d Dept 2017]). The father's conduct caused the child serious emotional harm and he thus failed to meet the minimum standard of care that is required of a reasonable and prudent parent.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 12, 2021








